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                IN THE UNITED STATES BANKRUPTCY COURT
                  IN AND FOR THE DISTRICT OF DELAWARE

American Home Mortgage,              )      Case No. 07-11047 CSS
      et al.,                        )      Chapter 11
                                     )      Jointly Administered
                                     )      Hearing: November 12, 2008 @ 10:00 a.m.
              Debtors.               )      Response date: November 5, 2008

NOTICE OF MOTION OF CITIMORTGAGE , INC.’S MOTION FOR RELIEF
 FROM THE AUTOMATIC STAY UNDER 11 U.S.C. §362(d)(1) – 1051 ROCK
             SPRINGS ROAD, ESCONDIDO, CA 92026

To: The Persons on the Attached Service List

       Hearing on the Motion is scheduled for November 12, 2008 at 10:00 a.m.

      ANY RESPONSE MUST BE FILED AND SERVED AND A
CERTIFICATE OF SERVICE FILED ON OR BEFORE NOVEMBER 5, 2008 AT
4:00 P.M. FAILURE TO TIMELY FILE AND SERVE A RESPONSE WILL
RESULT IN AN ORDER GRANTING THE RELIEF REQUESTED IN THE
MOTION.

       You are required to file a response and the supporting documentation required by
Local Rule 4001-1(d) to the attached motion at least five business days before the above
hearing date.
       At the same time, you must also serve a copy of the response upon Movant's
attorney:
                     Whittington & Aulgur
                     651 N. Broad Street, Suite 206
                     P.O. Box 1040
                     Middletown, DE 19709-1040

       The hearing date specified above may be a preliminary hearing or may be
consolidated with the final hearing, as determined by the Court.
       The attorneys for the parties shall confer with respect to the issues raised by the
motion in advance for the purpose of determining whether a consent judgment may be
entered and/or for the purpose of stipulating to relevant facts such as value of the
property, and the extent of any security instrument.

                             WHITTINGTON & AULGUR

                      By:    /s/ Kristi J. Doughty
                             Robert T. Aulgur, Jr. (No. 165)
                             Kristi J. Doughty (No. 3826)
                             (302) 378-1661
                             Attorney for Movant
